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NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA
                                                    Crim. No.: 03-cr-00844 (KSH)
         v.

 SAMIR MOSES,                                                OPINION
          Defendant.


   I.         Background

         Following his guilty plea to a single count of racketeering, the Court sentenced

defendant Samir Moses to 336 months’ imprisonment. He is currently incarcerated in

Illinois at USP Thomson, and he is scheduled to be released on April 10, 2030. In the

application presently before the Court (D.E. 912), he has sought a reduction in

sentence on compassionate release grounds due to the COVID-19 pandemic coupled

with an underlying medical condition of a systolic heart murmur. The government

has opposed. (D.E. 920.)

   II.        Legal Standard

         The Court may modify a term of imprisonment only under limited

circumstances. In re Morris, 345 F. App’x 796, 797-98 (3d Cir. 2009) (citing 18 U.S.C.

§ 3582(c)). Under 18 U.S.C. § 3582(c)(1)(A), the sentencing court may grant a

defendant’s motion for a reduction of sentence only if the motion was filed “after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau
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of Prisons to bring a motion on the defendant’s behalf” or after 30 days have passed

“from the receipt of such a request by the warden of the defendant’s facility.” No

exceptions to the exhaustion requirement are listed in the statute.

       If that exhaustion requirement is met, the Court may reduce a defendant’s term

of imprisonment “after considering the factors set forth in [18 U.S.C. § 3553(a)],” if

the Court finds that: (i) “extraordinary and compelling reasons warrant such a

reduction”; and (ii) “such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i)-(ii).

   III.   Discussion

       Resolution of Moses’s application turns on whether he has exhausted his

administrative remedies as required by § 3582(c)(1)(A). When, as here, a defendant

makes no claim nor provides any documentation that he or she has petitioned the

Bureau of Prisons (“BOP”) for compassionate release, the Court is deprived of

jurisdiction to entertain such request. In United States v. Harris, 973 F.3d 170 (3d Cir.

2020), the Third Circuit addressed this issue and held that “[a] prisoner may file a

motion for compassionate release with the sentencing court ‘after [he or she] has fully

exhausted all administrative rights to appeal a failure of the BOP to bring a motion on

the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.’” Id. at 171 (quoting 18 U.S.C. §

3582(c)(1)(A)). See also U.S. v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).



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       In his application, Moses does not claim to have filed a request with the

BOP, nor does he suggest that any request for release was denied by the

warden of USP Thomson. To cure the jurisdictional shortcomings of his

motion, Moses must present evidence that demonstrates he exhausted the

administrative remedies available to him, or submit documentation that at least

30 days have passed since he filed a request for compassionate release.

Accordingly, Moses’s motion for compassionate release is denied.

   IV.    Conclusion

       The application (D.E. 912) is denied without prejudice and an appropriate

order will issue.



Dated: January 11, 2021                        /s/ Katharine S. Hayden
                                               Katharine S. Hayden, U.S.D.J.




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